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                                   UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
JOEL RICH and MARY RICH,                                       : Civil Action No. 1:18-cv-02223
                                                               :
                                    Plaintiffs,                :
                                                               :
                              v.                               :
                                                               :
FOX NEWS NETWORK, LLC, MALIA                                   :
ZIMMERMAN in her individual and professional                   :
capacities, and ED BUTOWSKY, in his individual :
and professional capacities,                                   :
                                                               :
                                    Defendants.                :
-------------------------------------------------------------- X


                DECLARATION OF ELI J. KAY-OLIPHANT IN SUPPORT OF
                    PLAINTIFFS’ CONSOLIDATED OPPOSITION TO
                        DEFENDANTS’ MOTIONS TO DISMISS


        I, Eli J. Kay-Oliphant, hereby declare as follows:

        1.       I am a partner at the law firm of Massey & Gail LLP, counsel of record for

Plaintiffs Mary Rich and Joel Rich. I have personal knowledge of the facts set forth in this

declaration and make this declaration in support of Plaintiffs’ opposition to Defendants’ joint

motions to dismiss.

        2.       The video entitled “Report: Slain DNC Staffer Had Contact with WikiLeaks,” is

on the FoxNews.com website at http://video.foxnews.com/v/5436001644001/?#sp=show-clips. I

last accessed the video on June 3, 2018.

        3.       The video entitled “Rod Wheeler on His Investigation into DNC Staffer’s

Murder,” is on the FoxNews.com website at http://video.foxnews.com/v/5437207289001

/?#sp=show-clips. I last accessed the video on June 3, 2018.




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       4.         The video entitled “Was DNC Staffer in Contact with WikiLeaks?,” is on the

FoxBusiness.com website at http://video.foxbusiness.com/v/5437006995001/?#sp=show-clips. I

last accessed the video on June 3, 2018.

       5.         Attached hereto as Exhibit 1 is a true and correct copy of the first page of the

Insider.FoxNews.com website found at http://insider.foxnews.com/tag/ed-butowsky. I accessed

and printed this page on June 2, 2018.

       6.         Attached hereto as Exhibit 2 is a true and correct copy of the FoxBusiness.com

website found at https://www.foxbusiness.com/person/b/ed-butowsky. I accessed and printed this

page on June 2, 2018.

       7.         Ed    Butowsky’s       personal     YouTube      channel       may    be    found    at

https://www.youtube.com/user/edbutowsky/videos and his personal website may be found at

http://www.edbutowsky.com/category/fox-news/. I last accessed these websites on June 4, 2018.

       8.         Ed   Butowsky’s    page       on   his   corporate   website    may    be   found    at

http://www.chapwoodinvestments.com/fox-business/ed-butowsky-joins-varney-co-2/.                 I     last

accessed this website on June 4, 2018.

       9.         Attached hereto as Exhibit 3 is a true and correct copy of an article published on

Buzzfeed     on     May    24,   2017,    and    available    at   https://www.buzzfeed.com/amphtml

/josephbernstein/the-man-behind-the-seth-rich-private-investigation-has-a. I accessed and printed

this website on June 2, 2018.

       10.        Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the Wheeler

v. Twenty-First Century Fox, Inc. et al., No. 17-cv-5807 (GBD), February 28, 2018 Transcript on

Defendants’ Motion to Dismiss.




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        I declare under the penalty of perjury and pursuant to 28 U.S.C. § 1746 that the foregoing

is true and correct.

                                      Executed this 4th Day of June, 2018,



                                      /s/ Eli J. Kay-Oliphant

                                      Eli J. Kay-Oliphant




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                                CERTIFICATE OF SERVICE

       I hereby certify this 4th day of June, 2018 that I caused a true and correct copy of the

foregoing document to be electronically filed with the Clerk of the Court using the CM/ECF

system which will send notification to the attorneys of record.


                                                     s/ Elisha Barron
                                                     Elisha Barron




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